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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS



  JAMES RIVER INSURANCE COMPANY,              )
                                              )
                         Plaintiff,           )
                                              )
           vs.                                )
                                              ) Case No.: 3:18-cv-1314
                                              )
  DAVID STANLEY CONSULTANTS LLC, a            )
  West Virginia LLC; THE AMERICAN COAL        )
  COMPANY, a Delaware corporation; JAIME      )
  SHAW, as the Administrator of the Estate of )
  Robert Eric Clark, an individual; GRANITE   )
  STATE INSURANCE COMPANY, an Illinois        )
  corporation; COMMERCE AND INDUSTRY          )
  INSURANCE COMPANY, a New York               )
  corporation; TWIN CITY FIRE INSURANCE       )
  COMPANY, an Indiana corporation; and NEW )
  HAMPSHIRE INSURANCE COMPANY, an             )
  Illinois corporation                        )
                                              )
                         Defendants.          )
  _______________________________________ )




          NOTICE OF DISMISSAL RE NON-APPEARING DEFENDANTS
                           WITH PREJUDICE


        Plaintiff JAMES RIVER INSURANCE COMPANY hereby gives notice pursuant to

 Fed.R.Civ.P. 41(a)(1)(A)(i) of dismissal of the Complaint herein against the following

 defendants who have not yet filed an Answer or Motion for Summary Judgment pursuant to

 Fed.R.Civ.P. 56:

        1.     DAVID STANLEY CONSULTANTS LLC, a West Virginia LLC;

        2.     JAIME SHAW, as the Administrator of the Estate of Robert Eric Clark, an

 individual;


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        3.      TWIN CITY FIRE INSURANCE COMPANY, an Indiana corporation.

                                             Respectfully submitted,

 Dated: January 29, 2019                     JAMES RIVER INSURANCE COMPANY


                                             By: ______________________________
                                                   Matthew J. Hafey
                                                   NEMECEK & COLE, a PC
                                                   Attorneys for James River
                                                   Insurance Company


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                                CERTIFICATE OF SERVICE

        The undersigned certified that on January 29, 2019, the foregoing was electronically filed

 with the Clerk of the Court using the CM/ECF system which will send notification of such filing

 to all counsel of record.



                                             By: ______________________________
                                                   Matthew J. Hafey
                                                   NEMECEK & COLE, a PC
                                                   Attorneys for James River
                                                   Insurance Company




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